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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Brian D Blankenship
                                       Plaintiff,
v.                                                      Case No.: 1:23−cv−00867
                                                        Honorable Martha M. Pacold
Outer Banks Capital, Inc, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 16, 2023:


       MINUTE entry before the Honorable Martha M. Pacold: Plaintiff's response to
Defendants' motion to dismiss [23] is due by 7/17/2023. Defendants' reply is due by
8/11/2023. (rao, )




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